Case 4:21-cv-03064 Document 1-3 Filed on 09/21/21 in TXSD Page 1 0f 6 6/0994 14:27 pm

Marilyn Burgess - District Clerk Harris County
Envelope No. 55674494

2021 -44930 / Cou rt: 1 25 By: Cynthia Clausell- McGowan

Filed: 7/26/2021 12:00 AM

NO.

VALERIE BARTON § IN THE DISTRICT COURT
Plaintiff, §

§
V. § —_ JUDICIAL DISTRICT

§
AVIS BUDGET GROUP, INC. AND §
AVIS BUDGET CAR RENTAL, LLC §
Defendants. § OF HARRIS COUNTY, TEXAS

PLAINTIFF'S ORIGINAL PETITION
TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES Valerie Barton, hereinafter called Plaintiff, complaining of and about
Avis Budget Group, Inc. and Avis Budget Car Rental, LLC, hereinafter called Defendants, and
for cause of action would show unto the Court the following:

DISCOVERY CONTROL PLAN LEVEL
1, Plaintiff intends that discovery be conducted under Discovery Level 2.
PARTIES AND SERVICE

2, Plaintiff, Valerie Barton, is an Individual whose address is 6300 Richmond Ave.
Ste. 201, Houston, Texas 77057,

3, The last three numbers of Valerie Barton's driver's license number are 351.

4. Defendant Avis Budget Group, Inc., a Nonresident Corporation, may be served
pursuant to sections 5.201 and 5.255 of the Texas Business Organizations Code by serving the
registered agent of the corporation, Corporation Service Company, at 701 Brazos, Ste. 1050,
Austin, TX 78701, its registered office. Service of said Defendant as described above can be
affected by personal delivery.

5, Defendant Avis Budget Car Rental, LLC, a Limited Liability Company based in

 
Case 4:21-cv-03064 Document 1-3 Filed on 09/21/21 in TXSD Page 2 of 6

Texas, may be served with process by serving the registered agent of said company, Corporation
Service Company, at 211 E. 7th Street, Ste. 620, Austin, TX 78701-3218, its registered office.

Service of said Defendant as described above can be affected by personal delivery.

JURISDICTION AND VENUE
6. The subject matter in controversy is within the jurisdictional limits of this court.
7, Plaintiff seeks:
a. monetary relief of $250,000 or less and non-monetary relief.
8, This court has jurisdiction over Defendant Avis Budget Group, Inc., because said

Defendant purposefully availed itself of the privilege of conducting activities in the state of
Texas and established minimum contacts sufficient to confer jurisdiction over said Defendant,
and the assumption of jurisdiction over Avis Budget Group, Inc. will not offend traditional
notions of fair play and substantial justice and is consistent with the constitutional requirements
of due process,

9. Plaintiff would show that Defendant Avis Budget Group, Inc. had continuous and
systematic contacts with the state of Texas sufficient to establish general jurisdiction over said
Defendant.

10. Furthermore, Plaintiff would show that Defendant Avis Budget Group, Inc.
engaged in activities constituting business in the state of Texas as provided by Section 17.042 of
the Texas Civil Practice and Remedies Code, in that said Defendant committed a tort in whole or
in part in Texas.

11. Venue in Harris County is proper in this cause.

FACTS

12. At all times material hereto, Defendant Avis Budget Group, Inc. was the owner

 
Case 4:21-cv-03064 Document 1-3 Filed on 09/21/21 in TXSD Page 3 of 6

of the premises located at 17330 Palmetto Pines, Houston, TX 77032.

13. At all times material hereto, Defendant Avis Budget Car Rental, LLC was the
owner of the premises located at 17330 Palmetto Pines, Houston, TX 77032.

14... On or about July 25, 2019, Valerie Barton was an Invitee on property controlled
by the Defendants and was injured under the following circumstances: Plaintiff was renting a
vehicle from Budget Car Rental when she was in line and was injured by the base of a banner
stand,

LIABILITY OF DEFENDANT AVIS BUDGET GROUP, INC,

15. At all times mentioned herein, Defendant Avis Budget Group, Inc. owned the
property in question, located at 17330 Palmetto Pines, Houston, TX 77032.

16. ‘At all times mentioned herein, Defendant Avis Budget Group, Inc. had such
control over the premises in question that Defendant Avis Budget Group, Inc. owed certain
duties to Plaintiff, the breach of which proximately caused the injuries set forth herein,

17, On or about July 25, 2019, Valerie Barton was an Invitee on the premises owned
by the Defendant when Valerie Barton was injured as a result of the acts and omissions of the
Defendant.

LIABILITY OF DEFENDANT AVIS BUDGET GROUP, INC.
FOR NEGLIGENT CONDUCT OF ACTIVITY ON THE PREMISES

18. On the date that Valerie Barton was injured, Defendant was conducting or
permitting car rentals to occur on Defendant's premises,

19. Defendant failed to conduct such activity in a safe and reasonable manner, a
manner which created or perpetuated a danger to Valerie Barton and others, in that the base of a
banner injured Plaintiff.

20. ‘Valerie Barton was injured by or as a result of the negligent conduct of that

 
Case 4:21-cv-03064 Document 1-3 Filed on 09/21/21 in TXSD Page 4 of 6

activity when she was standing in line and the base of a banner injured her,
21. The negligent, careless or reckless acts and omissions of Defendant Avis Budget
Group, Inc. consisted of one or more of the following:

A. Defendant failed to discover and remove the faulty banner within a
reasonable time.

LIABILITY OF DEFENDANT AVIS BUDGET CAR RENTAL, LLC

22. At all times mentioned herein, Defendant Avis Budget Car Rental, LLC owned
the property in question, located at 17330 Palmetto Pines, Houston, TX 77032.

23,  Atall times mentioned herein, Defendant Avis Budget Car Rental, LLC had such
control over the premises in question that Defendant Avis Budget Car Rental, LLC owed certain
duties to Plaintiff, the breach of which proximately caused the injuries set forth herein.

24, On or about July 25, 2019, Valerie Barton was an Invitee on the premises owned
by the Defendant when Valerie Barton was injured as a result of the acts and omissions of the
Defendant.

LIABILITY OF DEFENDANT AVIS BUDGET CAR RENTAL, LLC
FOR NEGLIGENT CONDUCT OF ACTIVITY ON THE PREMISES

25, On the date that Valerie Barton was injured, Defendant was conducting or
permitting car rentals to occur on Defendant's premises.

26. Defendant failed to conduct such activity in a safe and reasonable manner, a
manner which created or perpetuated a danger to Valerie Barton and others, in that the base of a
banner injured Plaintiff.

27, Valerie Barton was injured by or as a result of the negligent conduct of that
activity when she was standing in line and the base of a banner injured her,

28. The negligent, careless or reckless acts and omissions of Defendant Avis Budget

 
Case 4:21-cv-03064 Document 1-3 Filed on 09/21/21 in TXSD Page 5 of 6

Car Rental, LLC consisted of one or more of the following:

A, Defendant failed to discover and remove the faulty banner within a
reasonable time.

PROXIMATE CAUSE

29. Each and every, all and singular of the foregoing acts and omissions, on the part
of Defendants, taken separately and/or collectively, constitute a direct and proximate cause of the
injuries and damages set forth below.

DAMAGES FOR PLAINTIFF, VALERIE BARTON

30. Asa direct and proximate result of the occurrence made the basis of this lawsuit,
and Defendants’ acts as described herein, Plaintiff, Valerie Barton was caused to suffer bodily
injuries, and to endure anxiety, pain, and illness resulting in damages more fully set forth below,

31. Asa direct and proximate result of the occurrence made the basis of this lawsuit,
Plaintiff, Valerie Barton has incurred the following damages:

A. Reasonable medical care and expenses in the past. These expenses were
incurred by Plaintiff, Valerie Barton for the necessary care and treatment
of the injuries resulting from the accident complained of herein and such
charges are reasonable and were usual and customary charges for such

services in Harris County, Texas;

B. Reasonable and necessary medical care and expenses which will, in all
reasonable probability, be incurred in the future;

C. Physical pain and suffering in the past;
D. Mental anguish in the past;
E. Physical pain and suffering in the future; and
F, Mental anguish in the future.
32. By reason of the above, Plaintiff, Valerie Barton has suffered losses and damages

in a sum within the jurisdictional limits of the Court and for which this lawsuit is brought.

 
Case 4:21-cv-03064 Document 1-3 Filed on 09/21/21 in TXSD Page 6 of 6

PRAYER
WHEREFORE, PREMISES CONSIDERED, Plaintiff, Valerie Barton, respectfully
prays that the Defendants be cited to appear and answer herein, and that upon a final hearing of
the cause, judgment be entered for the Plaintiff against Defendants, jointly and severally, for
damages in an amount within the jurisdictional limits of the Court; together with pre-judgment
interest (from the date of injury through the date of judgment) at the maximum rate allowed by
law; post-judgment interest at the legal rate, costs of court; and such other and further relief to

which the Plaintiff may be entitled at law or in equity.

Respectfully submitted,

THE BROWN LAW GROUP, P.L.L.C.

By: _/s/ Christopher Brown
Christopher Brown
Texas Bar No, 24078265
Email: litigation@brownlawgrouptx.com
6300 Richmond Ave,
Suite 201
Houston, TX 77057
Tel, (713) 334-2667
Fax. (713) 334-6768
Attorney for Plaintiff
Valerie Barton

 
